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                                                United States Department ot Agric:uhure
                                               M imal and Plant Heatlh lnspeeUon SoMco

                                                      Inspection Report
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PAMELA SELLNER
TOUSEUHER                                                                  CUSIOmOf iO 51<3
                                                                             CenlficaiO •2-c-oo&t
                                                                                  S.te 001
                                                                                  lO.II ' AMRA BRUER
CRICKET HOlLOW ZOO
t5t22 10THSTREET
                                                                                 Type· ROUTINE INSPECTION

MANCHESTER, lA 52057                                                             D01e· Fet>-16-2011

3.80                (0)      (2)   (iii)
PRIMARY ENCLOSURES.
Primary enclosures must be conslructed and maintained so lhat they contain the nonhuman primates securely and
prevent accld!lfltaJ oPQnlng ~ the enclosure, indiuding opening by the animal.

The licensee reports thAI W'l the month prior Salima, a Hamactr)'a$ baboon, had escaped from her enclosure and Wil$
found running 11 tarot within the pnmate building.

This poses a physicalhalonj 10 this rinal, d1e othe< animals, and could ha110 tosultod In escape trom lhe primate
bo-.g wllenlha ..,..,          """'-opened.
Enctostns ..... bo ..... be repa.ted, tejllaced, Of maWained In such a .,...... """ ..,.......... rinats.               ms item
had been COifoctod by , . -of lhe inspection.
3.84         (a)
CLEANING, SANillZATION, HOUSEKEEPING, AND PEST CONTROL.
Cleaning ot ptlmary e-nctos~es. Excreta and food waste mus1 be removed from Inside each indoor primary enclosure
daily and from undfwneath them as ollet~ as necessary to l)fevent an exc:esslve aoc:umulation ol faces and food
waste, 10 prevent the nonhuman primates from becoming soiled, and 10 fedUOO dtse3$6 hazards, insects. pests, and
odor&.

The enci06Ure In tho ptlmate building housing two Rhesus macaques (tlrat onc:to&ure on left as you enter the building)
has an exceuive o.ccumulaUon ot animal waste.

This does not protoct lh9 health and we-ll being ol the animals.

The endolure mus.1 be cleaned. To be oorrecied by: Febrvary 18, 2011 ,



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                                           ::-Yr !THIA NEt:::
                                           1                    ~ ::- .:
Prepand       By:
                          CYNTHIA M NElS, A C I             USDA, APHIS, Arimal Care                   Date:
     Title:                                                                                            Feb- 16-2011

Received By:
                                                                                                       Date:
     Title:                                                                                            Feb- 17·2011
                                                          Case #C14-2034-JSS                           EXHIBIT6 PAGE 0001
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3.125          (I)                               REPEAT
FAQUOES, GENERAL

SUUclooll11reng1h Tho lacilily must b e - ol such ma,.lrial and oiiiUCh llrength 8$             """""'""te
                                                                                              lor 1he
. , . m a l $ -· Tholr>cloor and- nous.ng faciibes shalbe llruct""aly IOI.Widand .,.. bemaintairiEdon
good repaor 10 prO!eC! 1he animals from in;.<y and 10 oon!aln !he animals.

···The 8C1$t side ollhe falow teoce remains In disrepalt, The hoensee repcwts lhru the groood froze before they were
able to replace the btoken wooden post.

...The ground has eroded nway In parts ol the coyote enclosure leaving the wire mesh exposed. The wire mesh.
used to prevent digging by lhe coyotes, has become damaged in some ot theso exposed ateas.

This does not protect the well being of the animals.

These Items must be repaired or replaoed.
3.131          (C)                               REPEAT
SANITATION.

Housel<eeJ>Ing. Premises (buildings and grounds) shall be kepi clean and In good repa• in order 10 protea the
animals hom rr..,y and 10 laclldate !he prescriled I>Jsbandry pracoices Mtlorth on lho& subpar1_ Accumulalions o1
oas1> shall be plaCid In desognaled areas and <teared as necessa<y 10 protea !he healh o1 the aninlals.

There ccon-•o be a largo cc1oc:11on o1 ma1erials SIO«<dln 11oe , _ _ area ollht tWcahonal butiog. The
capybara and the walaby are being winter housed in an area immecim.ety adjacenl to lhls co1ec00n of items. There
conttnues to be a colldlon of materials to !he t'IOl1tl and east of the educ:arlonal Cllflter. Addibana11y.lhGre is now a
variety of matenttls betng stored in ltle mammal area of lhe reptile house These Items Include but are 001. limited t«
two box tans, a light. an aquarium. miscellaneous toys, miscellaneous cage tupplies. and lett over petting zoo feed.

These situations provide harbOr$ and tweeding grounds for pests and vermin. Also, lhMe situations inhibit good
hUSbandry ptQC'IICEIS

IIQms nol being usoct must bo romovoo and stored in an apptoprlale mannor. 11oms noodod must be stated in an
organlzod fQS.hlon and removed when they are no longer needed.

This lnspecllon was oonductod on February 16, 2011, ln the ptosonce ot lhO undersigned owner. The exit review
was conducted on Febr'uary 17, 201 1, in the presence of the undersigned 0'1'\'nor.

The gap between the penmeter fence and shed, c:ited on the liW Inspection. has been eliminated. However, lhe
perimeter lenct tor the camel enc:tosure and the perimeter 1ence tor the wanlb(a aummer enclOsure has not been
oompleled. T1me lor cconeaion remains on ihal noncomplilw11 i1em.

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                     CYNTHIA M NElS, A C I             USDA, APHIS, Arimal Care                  Date:
     Tille:                                                                                      Feb- 16-2011
Recelvec By:
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     Tille:                                                                                      Feb· l 7·201 1
                                                     Case #C14-2034-JSS                           EXHIBIT6 PAGE 0002
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                                                     Case #C14-2034-JSS                 EXHIBIT6 PAGE 0003
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